  8:11-cr-00172-JFB-TDT      Doc # 24     Filed: 06/13/11   Page 1 of 2 - Page ID # 42




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )            8:11CR170
                    Plaintiff,           )
                                         )
      vs.                                )             ORDER
                                         )
MOHAMUD ALI JAMA,                        )
                                         )
                    Defendant.           )
________________________________
UNITED STATES OF AMERICA,                )
                                         )            8:11CR171
                    Plaintiff,           )
                                         )
      vs.                                )             ORDER
                                         )
ABDIAZIZ YOSUF MOHAMED,                  )
                                         )
                Defendant.               )
________________________________

UNITED STATES OF AMERICA,                )
                                         )            8:11CR172
                    Plaintiff,           )
                                         )
      vs.                                )             ORDER
                                         )
DAHIR SAHAL,                             )
                                         )
                Defendant.               )
________________________________


      This matter is before the court on the oral motion of each of the above-named
defendants. The motion was made during a hearing on June 13, 2011, on motions of Brent
W. Nicholls to withdraw as counsel for each of the defendants. At the hearing, David L.
Herzog entered an appearance for each of the named defendants. The government had
no objection to the motions. Each of the defendants was present and acknowledged the
additional time needed for their motion would be excluded under the calculations under the
  8:11-cr-00172-JFB-TDT       Doc # 24     Filed: 06/13/11    Page 2 of 2 - Page ID # 43




Speedy Trial Act. The oral motion was granted as to each defendant. Previously, Mr.
Nicholls had requested additional time to file pretrial motions (Filing No. 15 in 8:11CR170,
Filing No. 15 in 8:11CR171, and Filing No. 20 in 8:11CR172). Each of those motions will
be denied as moot.


       IT IS ORDERED:
       1.     Each of the defendants’ motions for an extension of time to file pretrial
motions, Filing No. 15 in 8:11CR170, Filing No. 15 in 8:11CR171, and Filing No. 20 in
8:11CR172, is denied as moot.
       2.     Each of the defendants’ oral motions for an extension of time to file pretrial
motions is granted, and they shall have to on or before July 22, 2011, in which to file
pretrial motions in accordance with the progression order.
       3.     The ends of justice have been served by granting such motions and outweigh
the interests of the public and the defendants in a speedy trial. The additional time arising
as a result of the granting of the motion, from June 13, 2011 through July 22, 2011, shall
be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendants’ counsel require additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage
of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 13th day of June, 2011.
                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge




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